                              UNITED STATES DISTRICT COURT
                                            District of New Mexico

UNITED STATES OF AMERICA

              V.                                         Case Number:

Nicholous Phillips                                       1:09CR03601-001MV




                                  ORDER MODIFYING CONDITIONS

THIS MATTER came before the Court on September 3, 2019, on the pending Petition for Revocation of
supervised release.

IT IS ORDERED that the petition is held in abeyance for 6 months. Defendant's conditions of supervision of
probation are modified as follows:

      You must participate in a cognitive behavioral treatment program and follow the rules and regulations of
      that program, if available. The probation officer will supervise your participation in the program
      (provider, location, modality, duration, intensity, etc.). Such programs may include group sessions led by
      a counselor, or participation in a program administered by the probation office.


      All other previously imposed conditions of supervised release remain in place.




IT IS FURTHER ORDERED that if Defendant complies with all conditions of supervision, the petition for
revocation will be dismissed at the conclusion of the period of abeyance.



                                                        /s/ Martha Vazquez
